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UN|TED STATES DISTR|CT COURT w +/ _
WESTERN DlSTRICT OF TENNESSEE F"~E'-:’ 53* d iJC

MEMPH|S D|VlSlON
85 AUE 3l Pll 51 25

UN|TED STATES OF AMER|CA

-v-» 04-20229-02-Ma

 

SALAMEH |BRAH|M

alkla “Sam"
Mark Mesler Fletained
Defense Attorney
80 Monroe Avenue, Suite 950
Memphls, Tennessee 38103

 

 

JUDGMENT |N A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on May 12, 2005. According|y,
the court has adjudicated that the defendant is guilty of the following offense(s):

Date Offense Count

Tit|e & Segtion N ture of Offense Cong|uded Number(s)
18 U.S.C. §371 Conspiracy 05/18/2004 1

The defendant is sentenced as provided in the following pages of this judgmentl The
sentence is imposed pursuant to the Sentencing Fieform Act of 1984 and the Mandatory
Victims Restitution Act of 1996.

Count 7 is dismissed on the motion of the United States.

|T |S FURTHER ORDERED that the defendant shall notifythe United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all finesr restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 01/26/ 1979 August 29, 2005
Deft’s U.S. Marsha| No.: 19703-076

Defendant’s Ftesidence Address:
2162 Kiibirnie Drive

Germantown,TN 38139 w %Mi_'

SAMUEL H. MAYS, JFl.
UN|TED STATES DiSTR|CT JUDGE

 

August 3 ‘ , 2005

This document entered on the docket sheet in compl »
with Ffu|e 55 and/or 32(b) FFtCrP on "

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Defendant Name: Salameh ibrahim Page 2 of 4

PROBAT|ON

The defendant is hereby placed on probation for a term of three (3) years.

While on probation, the defendant shall not commit another federa|, state, or local
crime and shall not illegally possess a firearm, ammunition, destructive device, or
dangerous weapons The defendant shall also comply with the standard conditions that
have been adopted by this court (set forth below). if this judgment imposes a fine or a
restitution obligation, it shall be a condition of probation that the defendant pay any such file
or restitution

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from placement on
probation and at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|TIONS OF SUPEF|V|SION

1. The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schoolingl training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten (10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substanoe;

7. The defendant shall not frequent places where controlled substances are illegally so|d, used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal aotivity, and shall not associate
with any person convicted of a felony uniess granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at horne or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

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Defendant Name: Salameh ibrahim Page 3 of 4

10.

11.

12.

13.

The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the oourt;

As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendant's compliance with such
notification requirement

lf this judgment imposes a fine or a restitution obligationl it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal Monetary Penalties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF PROBAT|ON

The defendant shall also comply with the following additional conditions of probation:

1. The defendant shall participate in the Home Detention program for a period of six
(6) months. During this time, defendant will remain at defendants place of
residence except for employment and other activities approved in advance by the
Defendant’s Probation Officer. Defendant will be subject to the standard conditions
of Home Detention adopted for use in the Western District of Tennessee, which may
inciude the requirement to wear an electronic monitoring device and to follow
electronic monitoring procedures specified by the Probation Officer. Further, the
defendant shall be required to contribute to the costs of services for such monitoring
not to exceed an amount determined reasonable by the Probation Officer.

2. The defendant shall provide the Probation Officer access to any requested tinanciai
information

3. The defendant shall comply with all Federall State and local tax laws.

4. The defendant shall not hold any property in his own name secretly for another
person.

5. The defendant shall cooperate in the collection of DNA as directed by the Probation

Officer.

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Defendant Name: Salameh ibrahim Page 4 of 4

CR|M|NAL NlONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedu|e of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment pursuant to 18 U.S.C. §
3612(f). A|l of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Tgt_a_l Ftestitution
$100.00 $2,000.00

The Special Assessment shall be due immediately

F|NE
A Fine in the amount of $ 2,000.00 is imposed.

REST|TUT|ON
No Fiestitution was ordered

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 127 in
case 2:04-CR-20229 Was distributed by faX, mail, or direct printing on
September 7, 2005 to the parties listed.

 

 

Mark Mesler

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Ste. 950

Memphis7 TN 38103

Stephen C. Parker

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

